Case 3:15-cr-00240-MHT-CSC Document 117 Filed 07/02/20 Page 1 of 3

FROM: 15668002. ; x
TO: , 4 :
SUBJECT: 3:15-cr-240-MHT Sal 2 i
DATE: 06/28/2020 07:31:12 PM , “ . ‘

IN THE DISTRICT COURT OF THE UNITED STATES | |

 

FOR THE MIDDLE DISTRICT OF ALABAMA
EASTERN DIVISION

CASE No. 3:15-CR-240-MHT

 

‘STEPHEN HOWARD
PETITIONER,
PRO-SE,
Vv.
UNITED STATES OF AMERICA,

RESPONDENT.

SUPPLEMENT REPLY TO GOVERNMENT'S RESPONSES

‘Comes now petitioner, PRO SE, Stephen Howard and provide this supplement to correct, the absence of Exhibit A.

STEPHEN HOWARD

REG. #15668-002 At UNIT

FEDERAL CORRECTIONAL INSTITUTION
COLEMAN- LOW.” 2

P.O, BOX. 1031

COLEMAN - FLORIDA 33521

WAIVER OF COMPLIANCE

Due to the current pandemic the BOP is in lockdown and HOWARD has not access to typewriter, copy cards, and soon, .
hence, HOWARD respectfully requests a waiver of the compliance rules: as to this response. :

CERTIFICATE OF SERVICE

at | HEREBY CERTIFY that on June 28,2020 | sent a true and correct copy of the foregoing with the CLERK of the Middle

 
 

District of Alabama Court, which will send a notice of filling to all parties ty serve a 2 coby upor the following a Blectronic

filing : :

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Mghe Hou si

Mr. Louis V. Franklin, Sr ‘
United States Attorney

131 Clayton Street

Montgomery, Alabama 36104

DECLARATION

a | declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge and memory.

STEPHEN HOWARD
REG # 15668-002 A1 UNIT
FEDERAL CORRECTIONAL INSTITUTION

COLEMAN- LOW

P.O.BOX 1031 Sani Mcdides

COLEMAN, FLORIDA 33521
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CALLOUTS FOR 06-25-2020 WRK ASGN QTR ASGN
43581-069 AGRON-GONZ EYE CLINIC 0800 UNICOR 3 A03-044L
43851-069 ANDINO-MAT MLP 1 0800 SHU UNASSG  204-227UAD
13788-058 ANGLE EYE CLINIC 1000 Aso B19-005L
00185-120 BASS MLP 1 0800 SHU UNASSG  202-134UAD
34844-016 BERNIER DOCTOR 1 1200 A&O A07-901L
24952-171 BLACKMON EYE CLINIC 0800 UNICOR 2 A04-058U
30833-112 CAMPOS MLP 1 0800 SHU UNASSG  201-104LAD
27579-018 CICCOTTO EYE CLINIC 1100 CMPD pw A06-084L
12258-017 CREARY EYE CLINIC 0800 UNICOR 5 A01-002U
77545-004 DANIELS EYE CLINIC 1000 CMPD EW B12-062L
68765-018 ELLSWORTH EYE CLINIC 0730 CMPD pw C03-035L
22509-057 FLORENCE . DOCTOR 1 0800 EDUCATION A02-015L
69851-018 GARCIA BAG EYE CLINIC 0730 CMPD pW C03-0491,
26025-058 GRIMSLEY A \ DOCTOR 1 1200 CMPD pw A18-003L
———"15668-002 HOWARD ><" 7 EYE CLINIC 0800 UNICOR 5 A03-937L
20194-017 HOWZE JR DOCTOR 1 0800 UNICOR 4 A02-930L
70626-919 LACOMBE MLP 1 0800 SHU UNASSG 204-224UAD
59556-019 LEE EYE CLINIC 1100 LEISUR CTR  A08-115L
41608-069 LOPEZ-ROLD EYE CLINIC 0800 UNICOR 3 A02-921L
41419-050 MAYFIELD DOCTOR i 0800 UNICOR 2 A03-050L
07452-104 MEJIA MLP 1 0800 SHU UNASSG 7204-223UAaD
21474-021 MINCEY MLP 1 0800 SHU UNASSG 204-216LAD
13834-104 NORFUS MLP 1 0800 SHU UNASSG  204-233LAD
69904-019 OTERO MLP 1 0800 SHU UNASSG 7204-214UAD
25321-075 PASHA MLP 1 0800 SHU UNASSG  201-106UAD
62138-018 RICE DOCTOR 1 0800 UNICOR 3 A02-922L
06050-104 ROQUE EYE CLINIC 0730 CMPD pw C01-004L
09249-104 SEQUEIRA EYE CLINIC 0800 UNICOR 4 A02-928L
56866-007 SMITH MLP 1 0800 SHU UNASSG 204-213UAD
19751-078 TAYLOR DOCTOR 1 0800 UNICOR 2 A02-022L
53385-018 THOMAS DOCTOR 1 1300 A&O Al1-941L
19902-008 TIGUE EYE CLINIC 0800 UNICOR P AO1-011L
09640-104 VALDES GON EYE CLINIC 0800 UNICOR 1 A02-920L
66944-019 VEGA-GUTIE EYE CLINIC 0730 CMPD pw C03-041L
20946-017 WALKER EYE CLINIC 1030 SHU UNASSG Z02-135LAD
58645-018 WASHINGTON DOCTOR 1 0800 A-1 ORD A04-O055L

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TRANSACTION SUCCESSFULLY COMPLETED

 

 
